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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                        *           CRIMINAL NO. 20-65

                v                                *           SECTION. ((L"

 ROBERT B. CALLOWAY                              *

                                          *       ,<     *

                                        FACTUAL BASIS

        1.     Defendant, ROBERT B. CALLOWAY              ("CALLOWAY"),        has indicated that he

intends to plead guilty as charged to Count One, that is, conspiracy to commit bank fraud, in

violation of 18 U.S.C. $$ 1344 and377, of the Superseding Bill of Information pending against

him.

        2.     The United States and CALLOWAY do hereby stipulate and agree that the

following facts are true and correct and that, should this matter have proceeded to trial, the

Government would have proven them beyond a reasonable doubt, through the introduction             of
competent testimony and admissible tangible and documentary exhibits. This Factual Basis does

not attempt to set forth all of the facts known to the United States regarding the allegations in the

Superseding   Bill of Information. The limited purpose of this Factual Basis is to demonstrate that
there exists a sufficient legal basis for CALLOWAY's guilty plea. By their signatures below, the

parties expressly agree that there is a factual basis supporting CALLOWAY's guilty plea. The

parties also agree that this Factual Basis may, but need not, be used by the United States Probation

Office and the Court in determining the applicable advisory guideline range under the United

States Sentencing Guidelines or the appropriate sentence under 18 U.S.C. $ 3553(a).




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        3.     From May 2006 through April2017, FirstNBC Bank was a financial institution, as

defined in Title 18, United States Code, Section 20, and a member of the Federal Deposit Insurance

Corporation ("FDIC") with federally insured deposit amounts.

        4.     First NBC Bank was established rn2006, with its headquarters in New Orleans,

Louisiana, within the Eastern District    of Louisiana, and with branch offices in      Louisiana,

Mississippi, and Florida.

        5.     First NBC Bank was the wholly-owned subsidiary of First NBC Bank Holding

Company. Beginning in May 2013, First NBC Bank Holding Company was a publicly-traded

company listed on the NASDAQ stock exchange. On April 28, 2017, First NBC Bank was closed

by the Louisiana Offlrce of Financial Institutions ("LOFI").

        6.     Ashton J. Ryan, Jr. ("Ryan"), was a founder of First NBC Bank and acted as its

President and Chief Executive Officer from on or about May 2006, until on or about December

2016. Ryan was responsible for developing and executing the Bank's strategic plan, overseeing all

of the Bank's affairs, and managing the Bank's day-to-day operations. Additionally, Ryan was

responsible for keeping members of the Bank's Board of Directors ("the Board") informed of the

Bank's true financial condition, the adequacy of its policies and procedures, and its internal

controls.

        7.     From in or around 2006 through April2017, William J. Burnell ("Burnell") was

employed by First NBC Bank as its Chief Credit Officer, and was responsible for, among other

things, the overall quality of the Bank's lending function; the Bank's credit policies and

administration; the Bank's loan recovery and collection efforts; and the Bank's monitoring and

managing of past-due loans, including the approval of the Bank's internal list of past-due loans.

Burnell was responsible for compiling month-end reports, including lists of overdrawn borrowers

and past-due loans. These reports should have accurately shown the quality of the Bank's assets,

including loans. Misrepresentations on these reports would have frustrated attempts at making    a
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true assessment of the Bank's overall financial well-being. Bumell was also responsible for

assigning risk ratings before the Bank issued loans to its customers. In the Bank's risk rating

system,   a"10" meantverylowriskoflosstotheBank,whilea"l"meantahighriskoflosstothe

Bank.

          8.       From in or around2006 through April2017, CALLOWAY was hired as a Senior

Vice President of First NBC Bank. He rose to the position of Executive Vice President and served

as a commercial relationship manager with tax credit specialization. From 2006 through April

2017, CALLOWAY received compensation from the Bank of approximately $2,368,632.00.

          9.       From in or around2009 through February 2017, Fred V. Beebe ("Beebe") was

employed by First NBC Bank as a Senior Vice President and as a commercial relationship

manager.

          10.      As a financial institution, First NBC Bank was subject to regulatory supervision by

the FDIC and LOFI, charged with supervising and regulating First NBC Bank to ensure that the

Bank engaged in safe and sound banking practices and complied with federal and state banking

laws.

          1   1.   First NBC Bank was also required to submit to periodic safety and soundness

examinations conducted        by the FDIC and LOFI. First NBC Bank was required to report
information regarding the loan portfolio and past-due loans to the FDIC and LOFI in advance of

these examinations, which affected the regulators' conclusions regarding the Bank's financial

condition.

          12.      In addition, First NBC Bank engaged external auditors tasked with evaluating the

accuracy       of the Bank's financial   statements related to, among other things, the Bank's loan

portfolio and investments.

          13.      From in or around 2008 through in or around April 2017, Gary Gibbs was a real

estate developer and borrower at First       NBC Bank, both individually and through his numerous
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entities. CALLOWAY was Gibbs's loan officer. Ryan served as the approving officer on Gibbs's

loans, and Burnell approved the credit risk rating. CALLOWAY, Ryan, and Burnell frequently

discussed Gibbs's loans with each other and with other Bank employees.

        14.    From at least 2011, CALLOWAY, Ryan, and Burnell knew that Gibbs's spending

was out of control and that Gibbs's entities did not generate sufficient income to make Gibbs's

loan payments. Despite this knowledge,   CALLOWAY, Ryan, and Burnell funneled            loan proceeds

to Gibbs by approving and facilitating loans. CALLOWAY and others often used loan proceeds

to pay Gibbs's overdrafts and existing debt service, which artificially kept Gibbs off month-end

reports that Ryan and Burnell approved and submitted to the Board. As CALLOWAY, Ryan, and

Burnell knew, Gibbs could not afford to make his loan payments without loan proceeds. In an

effort to avoid or minimize Gibbs's appearances on the overdraft and past-due reports,
CALLOWAY, Ryan, and Burnell made misrepresentations and material omissions regarding
Gibbs's creditworthiness and financial status. These misrepresentations and omissions also

allowed CALLOWAY, Ryan, and Burnell to avoid writing off Gibbs's loans and to evade

inquiries by the Board, auditors, and examiners.

        15.    For example, CALLOWAY, Ryan, and Bumell signed dozens of loan documents

over several years that assigned a false and inaccurate credit risk rating to Gibbs and his entities.

In many of these loans, Gibbs and his entities were assigned a credit risk rating of "5," when, in

truth and in fact, CALLOWAY, Ryan, and Burnell knew they should have been rated "3" or

lower. CALLOWAY, Ryan, and Burnell knew that, by assigning          a   false and inaccurate credit risk

rating on Gibbs's loans, they were misleading the Board, auditors, and examiners about Gibbs's

creditworthiness and true financial status.

        16.    Additionally, CALLOWAY, Ryan, and Burnell signed loan documents that falsely

represented that Gibbs satisfactorily handled his loan payments and that Gibbs would repay his

loans with money he generated from his businesses. As Gibbs's debt at the Bank grew to over



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$100 million with no signs of slowing down, CALLOWAY, Ryan, and Bumell continued to

misrepresent the manner in which the proceeds from Gibbs's loans would be spent and the manner

in which the loans would be repaid. Often, CALLOWAY, Ryan, and Burnell omitted the material

fact that they were using loan proceeds to pay previous loans that Gibbs was not otherwise able to

pay, while instead stating in loan documents only that the loans were for "working capital" and

that they were "performing as agreed".

        17.    Ryan, Burnell, and CALLOWAY also used Ryan's incremental authority to loan

money to Gibbs, thereby keeping Gibbs off the month-end overdraft and past-due reports and

concealing the true nature of the Gibbs relationship from the Board. For example, on or about May

21, 2012, CALLOWAY emailed Ryan and informed him that Gibbs "continues to write checks

and spend non-stop."   CALLOWAY        suggested to Ryan that, in case a new market tax credit deal

did not close by end of the month, Ryan should approve a $1 million incremental loan request to

ensure that Gibbs's overdrafts were covered before the end of the month.

        18.    On or about December 28,2012, Ryan, Burnell, and CALLOWAY approved a

credit memorandum for a $150,000 loan to Gibbs and Coastal Phoenix. The memorandum stated

that the loan would be for "working capital" and the source of repayment was "cash flows from

Gary Gibbs and related companies from development activities." The memorandum did not

disclose that the loan was intended to meet Gibbs's year end payments on his First NBC loans,

and that the loan would also be used to pay other loans. It also failed to disclose that Ryan, Burnell,

and CALLOWAY knew that Gibbs was not generating sufficient cash flows toward his own

operations and debt service. As a result of this loan, Gibbs was kept off the past due and overdraft

reports at the end of the month. Because of these false statements and omissions, approximately

$150,000 in loan proceeds were disbursed, and a portion of those proceeds were used to pay

another borrower's loans.

        19.     On or about January 15,2016, CALLOWAY placed a false and fraudulent Loan
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Review document about Gibbs into the books and records of the Bank, which was also transmitted

to outside auditors. The Loan Review document made misrepresentations and material omissions

about Gibbs's loans, and   it did not disclose that Gibbs was only able to make payments on his
existing loans by obtaining new loans from the Bank.

       20.       On or about March 18, 2016, Ryan, Burnell, and CALLOWAY placed a false and

fraudulent Criticized Asset Action Plan ("CAAP") pertaining to Gibbs in the books and records     of
the Bank.   CALLOWAY wrote in the CAAP that Gibbs's had no collateral shortfall, that all of his

loans were "performing as agreed," and that Gibbs's status was "stable." These statements were

misleading because CALLOWAY omitted the material fact that Gibbs was only able to make

payments on his existing loans by obtaining new loans from the Bank.

       21.       On or about March 21, 2076, Ryan, Burnell, and CALLOWAY made                  false

statements and material omissions   in Gibbs's loan documents related to the purpose of the loan,

the source of repayment, Gibbs's creditworthiness, the risk of loss to the Bank caused by Gibbs's

loans, the defendants' practice of using proceeds from Gibbs's loans to make payments on loans

for another borrower, and the defendants' practice of using proceeds from other borrowers' loans

to make payments on Gibbs's loans. This caused approximately $3 million in loan proceeds to be

disbursed to Gibbs, and a portion of those proceeds were used to pay another borrower's loans.

       22.       By the end of 2016, CALLOWAY, Ryan, and Burnell's practice of funneling

money to Gibbs led to Gibbs's borrowing relationship becoming one of the largest in the Bank's

loan portfolio. Despite the numerous risks associated with Gibbs's loans and the substantial threat

Gibbs's borrowing relationship posed to the Bank, CALLOWAY, Ryan, and Burnell continued

to approve and facilitate Gibbs's loans, and they concealed the truth regarding Gibbs's inability to

pay his loans.




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       23.     Records, documents, and other tangible objects, along with the testimony of

competent witnesses, would be introduced at trial to prove the facts set forth above.


APPROVED AND AGREED TO:




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      OLAS      MOSES
J. RYAN McLAREN
RACHAL CASSAGNE
Assistant United States Attomeys




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                                                             Date

RICK HOUGHTON
LAND MURPHY
Attorneys for Robert B. Calloway



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   BERT B. CALLOWAY                                          Date
Defendant




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